                  UNITED STATES DISTRICT COURT
                   DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
          v.                       )          Criminal Action
                                   )         No. 05-10262-PBS
SROUCH KHUT,                       )
                                   )
                    Defendant.     )
___________________________________)

                      MEMORANDUM AND ORDER

                       September 12, 2019

Saris, C.J.

    On November 27, 2007, the Court sentenced Defendant Srouch

Khut (“Khut”) to 262 months of prison and eight years of

supervised release for conspiring to sell five or more grams of

cocaine base (i.e., crack cocaine) pursuant to 21 U.S.C.

§ 841(b)(1)(B)(iii). Since then, Congress passed the Fair

Sentencing Act of 2010, which raised the drug quantity

thresholds for crack cocaine under § 841, and the First Step Act

of 2018, which made those threshold changes retroactive to

sentences imposed prior 2010. Khut now moves for relief under

the First Step Act, asking that the Court resentence him to time

served and six years of supervised release based on the revised

drug quantity thresholds under § 841. The Government opposes

Khut’s request for resentencing. After hearing, the Court ALLOWS

Khut’s motion (Dkt. No. 237).

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                           BACKGROUND

    On September 28, 2005, Khut was named as one of six

defendants in an eight-count indictment for drug conspiracy and

related charges. The indictment charged Khut with a single count

of conspiracy to distribute at least 50 grams of crack cocaine

under 21 U.S.C. § 841(b)(1)(A)(iii). Id. The charge carried a

minimum sentence of ten years in prison and a maximum sentence

of life. On August 8, 2007, the Government filed an information

against Khut pursuant to 21 U.S.C. § 851 based on three prior

felony convictions –- two felony drug convictions and one

violent crime conviction. The § 851 enhancement increased Khut’s

mandatory minimum sentence from ten years to life in prison.

    Khut and the Government subsequently reached an agreement

whereby he would plead guilty to a lesser included charge of

conspiracy to distribute at least 5 grams of crack cocaine under

21 U.S.C. § 841(b)(1)(B)(iii). The lesser charge carried a

mandatory minimum sentence of five years in prison and a maximum

sentence of 40 years. With the § 851 enhancement, however, the

mandatory minimum sentence increased from five years to ten and

the maximum sentence from 40 years to life in prison. Although

he still faced substantial criminal penalties, Khut agreed to

plead guilty to the lesser charge to avoid the mandatory life

sentence he originally faced under § 841(b)(1)(A)(iii).

Specifically, he agreed to accept responsibility for 49.8 grams

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of crack cocaine that the Government’s confidential witness

purchased from him in controlled buys. In exchange, the

Government agreed not to pursue additional drug quantities that

it believed were attributable to him.1

     On August 15, 2007, Khut pleaded guilty to a single

violation of 21 U.S.C. § 841(b)(1)(B)(iii). During the plea

colloquy, he admitted that he had sold 49.8 grams of crack

cocaine. Probation then prepared a presentence report that

calculated his sentencing guideline range. Khut was a criminal

history category VI. Based on the statutory maximum of life

imprisonment, his career offense level was 37, but, after a

three-level reduction for acceptance of responsibility, it came

down to 34. Thus, his guidelines range was 262-327 months. On

November 27, 2007, the Court imposed a low end of the guidelines

sentence of 262 months with eight years of supervised release.

The Court declined Khut’s request for a below the guidelines

sentence based on 18 U.S. C. § 3553(a) factors.

     Khut is now 46 years old and has served 193 months of his

262-month sentence. He is currently set for release in August

2024. Khut is not a U.S. citizen and there is a pending ICE

detainer lodged against him.




1    The Court had suppressed some but not all of the additional
drug amounts that the Government claimed were attributable to
Khut. See Dkt. No. 135 at 14.
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                            ANALYSIS

     At the time of Khut’s original sentencing,

§ 841(b)(1)(A)(iii) prohibited possession with intent to

distribute 50 grams or more of crack cocaine, § 841(b)(1)(B)(iii)

covered 5 grams or more, and § 841(b)(1)(C) covered less than 5

grams. Each subsection carries its own minimum and maximum

penalties, with the subsections covering larger drug amounts

commanding harsher penalties. In 2010, three years after Khut

was sentenced, Congress enacted the Fair Sentencing Act, which

modified the drug quantity thresholds under § 841. Now,

§ 841(b)(1)(A)(iii) covers 280 grams or more of crack cocaine,

§ 841(b)(1)(B)(iii) covers 28 grams or more, and § 841(b)(1)(C)

covers less than 28 grams. Under the Fair Sentencing Act,

however, these changes were not retroactive and only applied to

sentences imposed after August 2010. Last year, Congress enacted

the First Step Act, which made the Fair Sentencing Act changes

retroactive to sentences imposed prior to August 2010.

     On this basis, Khut now asks the Court to re-sentence him

to a lesser term of imprisonment and supervised release. He

argues that under the revised drug amount thresholds the lesser

penalties of § 841(b)(1)(C) are now applicable to him. The

Government opposes this request, arguing that because Khut

admitted to being responsible for 49.8 grams of crack cocaine

his original sentence under § 841(b)(1)(B)(iii) still applies.

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The crux of the parties’ dispute is whether the Court should

look to the elements of the crime to which Khut pleaded guilty

or to his admitted conduct to determine if he is eligible for

relief under the First Step Act. In other words, they dispute

whether the relevant drug amount is the “5 grams or more” that

was an element of Khut’s conviction under § 841(b)(1)(B)(iii) or

the 49.8 grams he admitted to during his plea colloquy. If the

former, then the lesser penalties under § 841(b)(1)(C) apply to

him because it is less than 28 grams. If the latter, then the

penalties under § 841(b)(1)(B) still apply to him because it is

more than 28 but less than 280 grams.

    Although the First Step Act was only recently enacted, this

Court is not the first to address the issue. To date, the vast

majority of courts have endorsed Khut’s reading of the First

Step Act that the statute of conviction determines eligibility

for relief rather than actual conduct. See United States v.

Rose, 379 F. Supp. 3d 223, 230 (S.D.N.Y. 2019) (collecting

cases). And many have done so notwithstanding the fact that the

defendants admitted to being responsible for drug quantity

amounts that would make them subject to the same penalties if

they were charged today. See, e.g., United States v. Thompson,

No. 3:07-CR-30034, 2019 WL 3308334, at *6 (W.D. La. July 23,

2019) (finding defendant eligible for First Step Act relief even

though plea agreement admitted responsibility for more than one

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kilogram of crack cocaine); United States v. Wright, No. 03 CR

362-2, 2019 WL 3231383, at *3 (N.D. Ill. July 18, 2019) (same

where plea agreement admitted responsibility for at least 286

grams of crack cocaine); United States v. Martin, No. 03-CR-795

(ERK), 2019 WL 2571148, at *3 (E.D.N.Y. June 20, 2019) (same

where pleas agreement and defendant at sentencing admitted

responsibility for more than 1.5 kilograms of crack cocaine).

The Court agrees with these courts’ interpretation of the First

Step Act and finds that Khut is eligible for relief on the basis

that he pleaded guilty to possession with intent to distribute 5

grams or more of crack cocaine.

    In the alternative, the Government asks that the Court

exercise its discretion to not grant relief under the First Step

Act. See First Step Act of 2018, Pub. L. No. 115-391, § 404(b),

132 Stat. 5194 (“A court that imposed a sentence for a covered

offense may . . . impose a reduced sentence . . . .” (emphasis

added)). The Government contends that if the Court reduces

Khut’s sentence it will be providing him an “unjustified

windfall” because if he was charged with same crime today, he

would be subject to the same penalties under § 841(b)(1)(B)

based on his admission that he was responsible for 49.8 grams of

crack cocaine. The Court is not so certain. The agreement with

respect to drug amount reached between the Government and Khut

back in 2007 was the product of the statutory framework that was

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in place at the time. Indeed, Khut’s counsel specifically stated

that he was admitting to the 49.8 grams in exchange for the

Government dropping a charge that carried a mandatory life

sentence. It is far from clear that the Khut would make the same

agreement today. Cf. United States v. Pierre, 372 F. Supp. 3d

17, 22 (D.R.I. 2019) (observing how the Government’s position

“requires the Court to employ a prosecutor-friendly ‘way-back

machine’ to conjure how the charge, plea, and sentencing would

have looked had the Fair Sentencing Act of 2010 been in

effect”). In any case, the First Step Act was specifically

intended to provide relief to criminal defendants like Khut who

were sentenced for crack cocaine offenses prior to the Fair

Sentencing Act. Thus, the Court will exercise its discretion to

resentence him.

    Finally, the parties disagree over what the Court may

consider in resentencing a criminal defendant pursuant to the

First Step Act. But the Court does not need to reach that legal

issue here. The parties at least agree that if Khut is eligible

for relief (he is), the Court is permitted to impose a reduced

sentence based on the recalculated guideline range and its

assessment of the § 3553(a) factors based on the facts in the

record. The Court finds that Khut is now subject to the criminal

penalties under § 841(b)(1)(C). The maximum penalty under

§ 841(b)(1)(C), with the § 851 enhancement, is 30 years

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imprisonment. This reduces Khut’s career offense level from 37

to 34 and, with the additional three-point reduction for

acceptance of responsibility, his total offense level is reduced

to 31. Khut’s criminal history category is unchanged by the

First Step Act. Based on a total offense level of 31 and a

criminal history category of IV, Khut’s new guideline range is

188 to 235 months and his term of supervised is six years. Khut

has already served 193 months of his original 262-month

sentence, meaning he has already served more time than the

bottom of the sentencing guidelines range. It is also worth

pointing out that Khut has not committed a single disciplinary

infraction in the more than sixteen years he has been in prison.

Accordingly, the Court will allow Khut’s request for

resentencing.

                              ORDER

    For the foregoing reasons, Khut’s motion (Dkt. No. 237) is

ALLOWED. The Court shall schedule resentencing.

SO ORDERED.



                              /s/ PATTI B. SARIS
                              Patti B. Saris
                              Chief United States District Judge




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